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Profile view of the former garment showing head-on Aviator Nation’s incontestable, federally-
            registered design mark, U.S. Reg. No. 4,623,495, positioned at the hip




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Posterior view of the former garment showing Aviator Nation’s signature green, single-stitched,
 rectangular border used to affix Aviator Nation’s oversized label to the inside of the garment




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  Interior view of the former garment showing Aviator Nation’s oversized label affixed near the
collar and featuring prominently Aviator Nation’s incontestable, federally-registered word mark,
                                    U.S. Reg. No. 3,662,517




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Profile view of the former garment showing head-on Aviator Nation’s incontestable, federally-
            registered design mark, U.S. Reg. No. 4,623,495, positioned at the hip




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Posterior view of the former garment showing Aviator Nation’s signature green, single-stitched,
 rectangular border used to affix Aviator Nation’s oversized label to the inside of the garment




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Opposing profile of the former garment showing Aviator Nation’s incontestable, federally-
         registered design mark, U.S. Reg. No. 4,623,495, positioned at the hip




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Front view of the former garment showing Aviator Nation’s incontestable, federally-registered
                  design mark, U.S. Reg. No. 4,623,495, positioned at the hip




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Posterior view of the former garment showing Aviator Nation’s signature green, single-stitched,
 rectangular border used to affix Aviator Nation’s oversized label to the inside of the garment




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Posterior view of the former garment showing Aviator Nation’s signature green, single-stitched
 rectangular border used to affix Aviator Nation’s oversized label to the inside of the garment




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Opposing profile of the former garment showing Aviator Nation’s incontestable, federally-
        registered design mark, U.S. Reg. No. 4,623,495, positioned at the hip




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Posterior view of the former garment showing Aviator Nation’s signature green, single-stitched
 rectangular border used to affix Aviator Nation’s oversized label to the inside of the garment




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Posterior view of the former garment showing Aviator Nation’s signature green, single-stitched
 rectangular border used to affix Aviator Nation’s oversized label to the inside of the garment




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Opposing profile of the former garment showing Aviator Nation’s incontestable, federally-
        registered design mark, U.S. Reg. No. 4,623,495, positioned at the hip




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Interior view of the former garment showing Aviator Nation’s label affixed to the waistband and
  featuring prominently Aviator Nation’s incontestable, federally-registered design mark, U.S.
 Reg. No. 4,623,495, on the label and floatable keychain inculded with the garment’s purchase




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Opposing profile of the former garment showing Aviator Nation’s incontestable, federally-
        registered design mark, U.S. Reg. No. 4,623,495, positioned at the hip




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Opposing profile of the former garment showing Aviator Nation’s incontestable, federally-
        registered design mark, U.S. Reg. No. 4,623,495, positioned at the hip




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